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CO-PS8
(12/14-D/CO)

                            United States District Court
                            for the District of Colorado
 U.S.A. vs. Robert Michael Lair                   Dkt. No. 21-CR-00409-01


               Petition for Warrant on Defendant On Pretrial Release

Comes now, Garret Pfalmer, Supervisory United States Probation Officer, presenting an official
report upon the conduct and attitude of defendant Robert Michael Lair, who was placed under
pretrial release supervision by the Honorable Nina Y. Wang, sitting in the Court at Denver
Colorado, on May 13, 2022. As noted in the Order Setting Conditions of Release (Document
19), the Court ordered conditions of pretrial release. The probation officer alleges the defendant
has violated the following terms and conditions of pretrial release as set forth herein.

     Respectfully presenting petition for action of the Court and for cause as follows:

1. Failure To Maintain Residence at a Halfway House

On Wednesday, May 18, 2022, at approximately 8:30 p.m. Independence House Pecos
Residential Reentry Center (RRC) staff requested the defendant leave the property based on
his continued aggressive behavior and a determination he posed a threat to the safety and
security of the program.

Staff at the facility informed they were meeting with the defendant to address a previous rule
violation when he abruptly left the meeting and could be heard yelling. He was asked to calm
down and efforts were made to de-escalate his behavior; however, the defendant continued to
present in an aggressive manner giving staff to have concern for the safety and security of the
facility. The defendant was noted as presenting with aggressive behavior since he entered the
program on May 13, 2022, and this led to the program director making the determination he
was no longer a suitable candidate for placement at the facility. The defendant thereafter left
the facility and has therefore failed to maintain his residence at the RRC.


RESPECTFULLY REQUESTING THAT THE COURT WILL ORDER the issuance of a warrant
for violation(s) of pretrial release, and subsequent to the arrest of the defendant, that the Court
consider revocation of bond.
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                                       ORDER OF THE COURT

 I declare under the penalty of perjury
 that the foregoing is true and correct.



                                                           Considered and ordered filed under seal and
                                                           made a part of the record in the above case.

 s/ Garret Pfalmer
 Supervising Probation Officer                             Nina Y. Wang
                                                           Magistrate Judge
 Date:      May 19, 2022                                   Date:    May 19, 2022
